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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION, )
) Civil Action No. 17-6803
Plaintiff, )
)
)
v. ) Magistrate Judge Gilbert
)
LHC OPERATING LLC d/b/a LAKESHORE )
SPORT AND FITNESS, )
)
Defendant. )
CONSENT DECREE
THE LITIGATION

L, On September 20, 2017, Plaintiff Equal Employment Opportunity Commission
(“EEOC”) filed suit against Defendant LHC Operating LLC d/b/a Lakeshore Sport and Fitness
(“Lakeshore”) under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §2000¢e, et
seq. The EEOC alleged that Lakeshore violated Title VII by subjecting Charging Party Shelita
Bridges and a class of female employees, including Shayleaf Alsberry and Shavonna Rockett, to
sex harassment and by failing to act reasonably to prevent or remedy harassment. Additionally,
the EEOC alleged that Lakeshore violated Title VII by terminating Ms. Bridges in retaliation for
her complaints about sex harassment and for her protected opposition to the unlawful employment
practices, in violation of Title VII. Lakeshore filed an Answer denying the allegations of the
complaint.

2. In the interest of resolving this matter, and as a result of having engaged in
comprehensive settlement negotiation, the parties have agreed that this action should be finally
resolved by entry of this Consent Decree (“Decree”).

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3 This Decree fully and finally resolves any and all issues and claims arising out of
the Complaint filed by the EEOC in this action. Nothing in this Decree constitutes an admission
by either party as to the claims or defenses of any other party.

FINDINGS

4. Having carefully examined the terms and provisions of this Decree, and based on
the pleadings, record, and stipulations of the parties, the Court finds the following:
a. This Court has jurisdiction of the subject matter of this action and the parties.
b. The terms of this Decree are adequate, fair, reasonable, equitable, and just. The
rights of the EEOC, Lakeshore, Bridges, Alsberry, Rockett and the public are
adequately protected by this Decree.
c. This Decree conforms to the Federal Rules of Civil Procedure and Title VII and
is not in derogation of the rights or privileges of any person. Entry of this Decree
will further the objectives of Title VII and will be in the best interests of the

EEOC, Lakeshore, Bridges, and the public.

NOW, THEREFORE, upon the consent of the parties, IT IS ORDERED, ADJUDGED, AND
DECREED THAT:

INJUNCTION AGAINST DISCRIMINATION

3. Lakeshore, its successors and assigns, and all persons acting in concert with it are
hereby enjoined from:
a. Engaging in any employment practice which discriminates on the basis of sex;
b. Engaging in sexual harassment of any employee and/or;
c. Creating, facilitating, or tolerating the existence of a work environment that is
hostile to employees on the basis of sex.

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INJUNCTION AGAINST RETALIATION
6. Lakeshore, its successors and assigns, and all persons acting in concert with it are
enjoined from engaging in any form of retaliation against any person because such person has
opposed any practice made unlawful under Title VII; filed a Charge of Discrimination under Title
VII; testified or participated in any manner in any investigation, proceeding, or hearing under Title
VU; or asserted any rights under this Decree.

MONETARY RELIEF

Ts Within the latter of seven (7) days of the approval and entry of this Decree by the
District Court or within seven (7) days after Lakeshore receives the Release, attached as Exhibit
A, signed by Bridges, Alsberry, and Rockett, Lakeshore shall pay the gross sum of $45,000.00 as
damages to Bridges, Alsberry, and Rocket, divided as follows: $42,000.00 for Bridges, $1,500.00
for Alsberry, and $1,500.00 for Rockett. Lakeshore shall issue an IRS Form 1099 to Bridges,
Alsberry, and Rocket. Lakeshore shall send Bridge’s, Alsberry’s, and Rockett’s payments by
check via Certified or Registered Mail. Contemporaneously, Lakeshore shall submit a copy of the
check(s) to EEOC,

8. Lakeshore shall provide Bridges, Alsberry, and Rocket with neutral employment
references to potential employers, limiting their reference to dates of employment and positions
held, Lakeshore may also verify salary information if requested by potential employers.

ANTI-DISCRIMINATION AND COMPLAINT INVESTIGATION POLICY

9. Lakeshore shall amend its a written policy against employment discrimination and
harassment (“‘Anti-Discrimination Policy”), as necessary to be consistent with the provisions of
this Decree, within fourteen (14) days after the approval and entry of this Decree, and shall
maintain such Anti-Discrimination policy for the duration of this Decree. No later than 14 days

after the entry of this Decree, Lakeshore shall notify all of its employees of the Anti-Discrimination

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Policy by posting the Notice appended as Exhibit B and shall make copies of the Anti-

Discrimination Policy available to all current employees. Lakeshore shall provide copies of the

Anti-Discrimination policy to all new employees at the time that they are hired and, as part of any

onboarding process, a manager shall specifically emphasize the Anti-Discrimination policy and

make clear that Lakeshore takes complaints of harassment seriously. The Anti-Discrimination

Policy must, at a minimum,

a.

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Specifically prohibit all discrimination and harassment made unlawful by Title
VI;

Inform employees that they are entitled to make complaints or reports of
unlawful employment discrimination, including harassment to Lakeshore and
to the EEOC;

Identify Peter Goldman and Stacey Coleman, or their replacements designated
according to paragraph 17, as the employees with the responsibilities and
training as described in paragraphs 12 and 15-18 of this Decree;

Inform employees that Lakeshore will investigate thoroughly and promptly all
such complaints or reports in good faith and provide that employees, including
management employees, who violate the Anti-Discrimination Policy are
subject to discipline up to and inehuding discharge;

Affirmatively state that employees will not be subject to retaliation ifthey bring
a complaint or report in good faith or participate in an investigation. The Anti-
Discrimination Policy will not suggest or state that only workers who make

“valid” or similar complaints are protected from retaliation;

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E.

Affirmatively state that Lakeshore will protect the complaining employee’s
confidentiality to the extent possible; and

Require that managers and other employees with supervisory responsibility
who observe harassing or discriminatory behavior or become aware of a
harassment or discrimination complaint have a duty to report such observations

or complaints to the employees described in paragraph 8(c),

10. Within fourteen (14) days after the approval and entry of this Decree, Lakeshore

shall develop and maintain a policy regarding internal investigations (“Complaint Investigation

Policy”) of all complaints or reports concerning alleged sex discrimination, harassment, and/or

retaliation. Within 14 days of entry of the Decree, Lakeshore will notify its employees about the

Complaint Investigation Policy by including such information in the Notice appended as Exhibit

B, shall make the Complaint Investigation Policy available to all current employees, and shall

provide a copy of the Policy to all new employees at the time that they are hired. Lakeshore’s

Complaint Investigation Policy, at a minimum, must require that Lakeshore:

a.

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Make all reasonable efforts to fully investigate all complaints of harassment,
retaliation, and/or discrimination within fourteen (14) days of the date of the
allegation;

Interview all material witnesses in person;

Photograph or otherwise preserve all relevant evidence in a manner that will
facilitate further forensic investigation;

Prepare written findings of the results of each investigation; and

Communicate the findings of the investigation to the alleged victim of

discrimination.

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11. Following any investigation, Lakeshore shall review the process and discuss how
well any employee with supervisory responsibility complied with Lakeshore’s policies against
harassment and discrimination and how well the supervisor responded when he or she received a
harassment or retaliation complaint and provide further training as appropriate if the supervisor
fails to comply with Lakeshore’s policies against harassment and discrimination.

HARASSMENT/ANTI-DISCRIMINATION TRAINING

12. No later than ninety (90) days after approval and entry of this Decree, and once
during each additional year that the decree is in effect, Lakeshore shall have all of its managerial
staff and human resources trained in person by an experienced outside consultant or via a training
video program provided by Kantola with an in-person discussion of the issues raised in the training.
The discussion shall be led by Peter Goldman or Stacey Coleman, as the employees designated as
the recipients of complaints in paragraph 8(c), or their replacements designated according to
paragraph 17. At a minimum, the training must provide:

a. Education on the laws pertaining to employment discrimination and
harassment, specifically sex harassment and retaliation;

b. Examples of conduct which constitute discrimination;

c. Information to employees regarding appropriate responses to complaints of
discrimination;

d. An explanation of the rights and responsibilities of management and non-
management employees; and

e. Tools for bystander intervention.

13. Lakeshore shall inform its employees in person, during a regularly scheduled staff
meeting for each department, and including managerial staff and human resources, about
Lakeshore’s Anti-Discrimination policies and procedures. A manager shall personally convey

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during these meetings that Lakeshore takes complaints of sexual harassment seriously, and that
Lakeshore will investigate any claim of sexual harassment consistent with Lakeshore’s policies
and procedures.
14. No later than fourteen (14) days after each training session described in paragraph
12 takes place, Lakeshore shall certify to the EEOC in writing that the required training session
has taken place and the required personnel have attended, Every certification of training described
in this paragraph must include:
a. the date, location, and duration of the training;
b. acopy of the registry of attendance, which shall include the name and position of
each person trained;
c, a current list by name and position of all the employees subject to the training
requirement; and
d. copies of any and all pamphlets, brochures, outlines, or other written materials
provided or displayed to the personnel attending each training session, if not already
provided to the EEOC,

COMPLAINT INVESTIGATION TRAINING

15. Lakeshore shall designate two employees who will have the responsibility to
investigate independently and confidentially any and all complaints of harassment or
discrimination reported to Lakeshore. These employees shall also be responsible for determining
and implementing the appropriate disciplinary or corrective action to take to resolve a complaint
of sex harassment or discrimination; and maintaining detailed written records of all complaints of
sex harassment or discrimination, the investigation of such complaints, and the resolution of such

complaints.

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16. No later than sixty (60) days after approval and entry of this Decree, the employees
designated in paragraph 15, above, in addition to the training described in the Harassment/Anti-
Discrimination Training section, above, shall be given intensive training on human resources
topics as they relate to taking complaints and ronduatine workplace investigations by an
outside/independent trainer(s). Defendant proposes either Cotler Law LLC or the EEOC through
its on-site training program will conduct this training. EEOC does not object to Defendant’s
proposed trainers.

17. In the event that the employees designated in paragraph 15 are no longer able to
serve in the role described in paragraph 15 Lakeshore shall have fourteen (14) days from the date
it is notified that the employee will be unavailable to continue his/her duties for the duration of the
Consent Decree to identify to EEOC by name, address, and telephone number a new employee.

18. Lakeshore’s alternate employee described in paragraph 17 shall be trained on
conducting workplace investigations by an outside/independent trainer(s) within twenty-eight (28)
days unless such alternate employee has received such training in the year immediately preceding
being named as an alternate.

POSTING OF NOTICE

19, Within seven (7) days after approval and entry of this Decree, Lakeshore shall post
same-size copies printed on colored paper of the notice attached as Exhibit B to this Decree in a
conspicuous but non-public location in such as Lakeshore’s time clock, break rooms, kitchen areas,
or in any other location that Lakeshore regularly uses for posting legal notices concerning
employee rights. The Notice must remain posted in this manner for the duration of the decree.
Lakeshore shall take all reasonable steps to ensure that the posted Notice is not removed, altered,

defaced, or covered by any other material. Lakeshore shall permit a representative of the EEOC to

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enter Lakeshore’s premises for purposes of verifying compliance with this paragraph at any time
during normal business hours without prior notice.

20, Within seven (7) days after approval and entry of this Decree, Lakeshore shall
certify to EEOC in writing that the Notice has been properly posted in accordance with paragraph
19.

RECORD KEEPING

21. For the duration of this Decree, Lakeshore shall maintain records of each complaint
or report (whether written or oral) of sex discrimination, harassment, or retaliation prohibited by
the Decree, For each such complaint or report, the above-noted records shall include:

a. The name of the complaining or reporting person (including social security
number, address, and telephone number, if available);

b. The date of the complaint or report;

c. A written description of what was alleged in the complaint or report;

d. The names of any witnesses:

e. All notes of interview

f. A written description of the resolution or outcome of the complaint or report,
including a description of what action, if any, Lakeshore took, and the names
and positions of all employees who were involved in any such actions take; and

g. Ifthe complaint or report was made in written form, a copy thereof.

22. Lakeshore shall make all documents or records referred to in paragraph 21 available
electronically within fourteen (14) days after the EEOC so requests. In addition, Lakeshore shall
require personnel within its employ whom the EEOC requests for purposes of verifying

compliance with this Decree to cooperate with the EEOC and be interviewed.

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REPORTING
23. Lakeshore shall furnish to the EEOC the following written reports semi-annually
for the duration of the Decree. The first report shall be due six (6) months after entry of the Consent
Decree, Subsequent semiannual reports shall be due every six (6) months thereafter, except that
the final report shall be due forty-seven (47) months after entry of the Decree, Each such report
must contain (as applicable):

a. The records maintained by Lakeshore, as required by paragraph 21, above, for
each complaint or report of sex discrimination or harassment; or retaliation
received during the six (6) month period preceding the report.

b. A certification by Lakeshore that the Notice required to be posted in paragraph
19, remained posted during the entire six (6) months preceding the report.

c. A certification that all Training has been provided as required in paragraphs 12
and 16.

DISPUTE RESOLUTION

24. If during the term of this Decree any party to this Decree believes that the other
party has failed to comply with any provision(s) of the Decree, the complaining party shall notify
the other parties of the alleged non-compliance and shall afford the alleged non-complying party
fourteen (14) days to remedy the non-compliance or to satisfy the complaining party that the
alleged non-complying party has complied. If the alleged non-complying party has not remedied
the alleged non-compliance or satisfied the complaining party that it has complied within fourteen
(14) days, the complaining party may apply to the Court for appropriate relief.

DURATION OF THE DECREE AND RETENTION OF JURISDICTION

25.  Allprovisions of this Decree shall be in effect (and the Court will retain jurisdiction

of this matter to enforce this Decree) for a period of four (4) years immediately following the

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approval and entry of the Decree, provided, however, that if, at the end of the four (4) year period,
any disputes under paragraph 24, above, remain unresolved, the term of the decree shall be
automatically extended (and the Court will retain jurisdiction of this matter to enforce the Decree)
until such time as all disputes have been resolved.

MISCELLANEOUS PROVISIONS

26. Each party to this Decree shall bear its own expenses, attorneys’ fees, and costs,

27. The terms of this Consent Decree shall be binding upon Lakeshore and its
successors and assigns. Defendant Lakeshore, and any successor(s) of Defendant, shall provide a
copy of this Decree to any organization or person who acquires or merges with Defendant, or any
successor of Defendant, prior to the effectiveness of any such acquisition or merger. Lakeshore
shall comply with all injunctive provisions of this Decree.

28. The service of any notices, reports, or certificates to be given to the parties under
this Consent Decree will be deemed sufficient, and effective upon mailing, if emailed and sent by
first-class mail to:

Counsel for EEOC:

Before May 20. 2019

Jeanne Szromba

Jonathan Delozano

Trial Attorneys

U.S. Equal Employment
Opportunity Commission

500 West Madison Street, Suite 2000
Chicago, IL 60661
Jeanne.Szromba@eeoc.gov
Jonathan. Delozano@eeoc.gov
After May 20, 2019

Jeanne Szromba

Jonathan Delozano

Trial Attorneys

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U.S. Equal Employment
Opportunity Commission

230 S. Dearborn St. Ste. 2980
Chicago, IL 60604
Jeanne.Szromba@eeoc.gov
Jonathan.Delozano@eeoc.gov

Counsel for Lakeshore
Marc C. Smith
Fox Rothschild LLP

353 N. Clark St., Suite 3650
Chicago, IL 60654

mesmith@foxrothschild.com

With a copy to Peter Goldman
1320 W. Fullerton
Chicago, IL 60614

pg@lakeshoresf.com

By advance agreement of the parties, prior to each submission, materials may alternatively be
submitted by electronic mail.

29. Whenever possible, each provision and term of this Consent Decree shall be
interpreted in such a manner as to be valid and enforceable; provided, however, that in the event
any provision or term of this Consent Decree should be determined to be or rendered invalid or
unenforceable (by an Act of Congress or otherwise), all other provisions and terms of this Consent
Decree and the application thereof to all persons and circumstances subject thereto shall remain
unaffected to the extent permitted by law.

30. | When this Decree requires certification by Lakeshore of any fact(s), such
certification shall be made under oath or penalty of perjury by an officer or management employee

of Lakeshore to the best of such officer or management employee’s knowledge, information, and

belief.

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AL say of Rese 2019.

SO ORDERED, ADJUDGED, and DECREED o

  

By the Court:

 

vt ( | oe —~
The Hon. Jeffrey T. Gilbert
United States District Magistrate Judge

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AGREED TO IN FORM AND CONTENT:

FOR PLAINTIFF EQUAL

EMPLOYMENT OPPORTUNITY
COMMISSION

James L. Lee
Deputy General Counsel

Gwendolyn Young Re
Associate General Co

 

Regional\Attarney

DUM

Deborah Hamilton
Supervisory Trial ‘<_

   

al Attorney

Spt Yee

Jonathan Delozano
Trial Attorney

Equal Employment Opportunity Commission
500 W, Madison St. Ste. 2000
Chicago IL 60661

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FOR DEFENDANT LHC OPERATING
LLC D/B/A LAKESHORE SPORT AND
FITNESS

 

 

lf.
By Its Manager
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EXHIBIT A

RELEASE AGREEMENT
In consideration of $__ to be paid to me by LHC Operating LLC d/b/a Lakeshore, in
connection with the resolution of EEOC v. LHC Operating LLC, No. 17-cv-6803 (N.D. Ill.), 1
waive my right to recover for any claims of sex harassment arising under Title VII of the Civil
Rights Act of 1964 that I had against Lakeshore on or before the date of this release and that were

included in the claims in EEOC’s complaint in EEOC v. LHC Operating LLC.

Signed:

Date:

 

Mailing Address

 

 

 

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EXHIBIT B

NOTICE TO EMPLOYEES

This notice is posted pursuant to a Consent Decree resolving a lawsuit brought by the U.S. Equal
Employment Opportunity Commission (www.eeoc.gov), against LHC Operating LLC
(“Lakeshore”)

The EEOC is the United States agency responsible for investigating and eliminating employment
discrimination, including discrimination based on national origin and retaliation.

The EEOC alleged that Lakeshore discriminated against group of former employees because of
their sex by subjecting them to sexual harassment. Lakeshore denied all allegations by the EEOC.
The parties agreed to resolve the matter without admitting any claim or defense of the other party.
The Consent Decree resolving this lawsuit provides:

1. Lakeshore will not discriminate or harass any employee on the basis of sex;

2. Lakeshore will not retaliate against any person because (s)he opposed any practice
made unlawful by Title VII, filed a charge of discrimination, participated in any Title
VII proceeding, or asserted any rights under the Consent Decree;

3. Lakeshore will maintain and make available to all employees a policy against sex
discrimination and will train all its employees regarding laws prohibiting sex
discrimination and harassment;

4. Lakeshore’s policy will identify the names, phone numbers, and email addresses of
individuals available to receive complaints; and

5. Lakeshore will report all complaints of sex discrimination to EEOC.

Lakeshore’s Employee Handbook sets forth its policies against discrimination, harassment, and
retaliation and its investigation of such complaints. The EEOC enforces federal laws against
discrimination in employment on the basis of race, color, religion, national origin, sex, age, or
disability. If you believe that you have been discriminated against, you may contact EEOC at (312)
869-8000. The EEOC charges no fees and has employees that speak Spanish and other languages
other than English. To find more information on filing a charge, look here:

https://www.eccoc.gov/employees/howtofile.cfm
THIS IS AN OFFICIAL NOTICE AND MUST NOT BE DEFACED BY ANYONE

This Notice must remain posted for four (4) years from the date below and must not be
altered, defaced or covered by any other material. Any questiop$ about this Notice or
compliance with its terms may be directed to: Lakeshore Settl¢ment, EEOC, 500 West
Madison Street, Suite 2000, Chicago, IL 60661 f

A\(% Zi |
\— eee Judve Jeffrey T Gilbert

ited States District Court

        
   

 

Date |

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